                                               Case 2:19-cv-08109-SVW-MAA Document 46-7 Filed 10/26/20 Page 1 of 4 Page ID #:413




                                                                         1   COLLINSON, DAEHNKE, INLOW & GRECO
                                                                         2
                                                                             Laura E. Inlow, Esq., State Bar No. 130584
                                                                             Email: laura.inlow@cdiglaw.com
                                                                         3   21515 Hawthorne Blvd., Suite 800
                                                                         4   Torrance, CA 90503
                                                                             Telephone: (424) 212-7777
                                                                         5   Facsimile: (424) 212-7757
                                                                         6
                                                                             Attorneys for Defendant, COUNTY OF LOS ANGELES
                                                                         7

                                                                         8                       UNITED STATES DISTRICT COURT
                                                                         9
                                                                                      CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                                                        10
                                                                             DANIEL NERSOYAN,                           CASE NO. CV19-08109 SVW (MAAx)
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                                               Plaintiff,               DEFENDANT’S APPENDIX OF
                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757




                                                                                                                        EXHIBITS IN SUPPORT OF ITS
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13               v.                             MOTION FOR SUMMARY
                                                                        14                                              JUDGMENT OR, IN THE
                                                                             COUNTY OF LOS ANGELES, a                   ALTERNATIVE, MOTION FOR
                                                                        15   county corporation; COUNTY OF LOS
                                                                             ANGELES SHERIFF’S                          PARTIAL SUMMARY JUDGMENT
                                                                        16   DEPARTMENT, a public entity;
                                                                             SHERIFF JAMES MCDONNELL, in                [Filed Concurrently with Motion for
                                                                        17   his official capacity and as an
                                                                             individual; DEPUTY KENNETH                 Summary Judgment, Separate Statement
                                                                        18   COLLINS, individually and in his           of Undisputed Facts, Declarations and
                                                                             official capacity as a Deputy, and         (Proposed) Order]
                                                                        19   DOES 1 through 10, inclusive

                                                                        20                     Defendants.              Date: November 30, 2020
                                                                                                                        Time: 1:30 p.m.
                                                                        21                                              Dept.: 10A
                                                                        22
                                                                                                                        Action Filed: September 18, 2019
                                                                        23                                              Trial Date: January 12, 2021
                                                                        24

                                                                        25
                                                                             TO THE HONORABLE COURT, ALL PARTIES AND THEIR ATTORNEYS
                                                                        26
                                                                             OF RECORD:
                                                                        27
                                                                                   Defendant the COUNTY OF LOS ANGELES hereby submits the following
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                                             APPENDIX OF EXHIBITS
                                               Case 2:19-cv-08109-SVW-MAA Document 46-7 Filed 10/26/20 Page 2 of 4 Page ID #:414




                                                                         1   evidence in supports of its Motion for Summary Judgment or in the alternative,
                                                                         2
                                                                             Partial Summary Judgment.
                                                                         3

                                                                         4      Exhibit                                   Title

                                                                         5      A         True and correct copies of the pertinent portions of the deposition

                                                                         6                testimony of plaintiff Daniel Nersoyan taken on October 15, 2020.

                                                                         7      B         True and correct copies of the pertinent portions of the deposition

                                                                         8                testimony of defendant Kenneth Collins taken on November 18,

                                                                         9                2019.

                                                                        10      C         True and correct copy of plaintiff’s November 18, 2014

                                                                        11                Government Tort Claim.
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12      D         True and correct copy of the first certified letter from LASD to
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800




                                                                                          Nersoyan.
                                 TORRANCE, CALIFORNIA 90503




                                                                        13

                                                                        14      E         True and correct copy of audiotape of Sgt. Kimura’s first phone
                                                                        15                call with plaintiff re 2014 claim.
                                                                        16      F         True and correct copy of the audiotape of Sgt. Kimura’s second
                                                                        17                phone call with plaintiff re 2014 claim.
                                                                        18      G         True and correct copy of County’s denial letter re 2014
                                                                        19                Government Tort Claim.
                                                                        20      H         True and correct copy of the second certified letter from LASD to
                                                                        21                Nersoyan.
                                                                        22
                                                                                I         True and correct copy of the transcription of voicemail to Kimura
                                                                        23
                                                                                          re attorney meeting
                                                                        24
                                                                                J         True and correct copy of the Court’s order granting County’s
                                                                        25
                                                                                          Motion for Summary Judgment in 19-cv-00471
                                                                        26
                                                                                K         Plaintiff’s Amended Tort Claim of 2019
                                                                        27
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                                                                                                             APPENDIX OF EXHIBITS
                                               Case 2:19-cv-08109-SVW-MAA Document 46-7 Filed 10/26/20 Page 3 of 4 Page ID #:415




                                                                         1      L        County’s denial of Amended Tort Claim
                                                                         2

                                                                         3

                                                                         4   DATED: October 26, 2020     COLLINSON, DAEHNKE, INLOW & GRECO
                                                                         5

                                                                         6                                By: Laura E. Inlow
                                                                                                          Laura E. Inlow, Esq.
                                                                         7                                Attorneys for Defendant, COUNTY OF LOS
                                                                         8                                ANGELES
                                                                         9
                                                                        10

                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




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                                                                                                          APPENDIX OF EXHIBITS
                                               Case 2:19-cv-08109-SVW-MAA Document 46-7 Filed 10/26/20 Page 4 of 4 Page ID #:416




                                                                         1                                PROOF OF SERVICE
                                                                         2                                  Nersoyan v. COLA
                                                                                                           Case No. CV19-08109
                                                                         3

                                                                         4              STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

                                                                         5         I am employed in the County of Los Angeles, State of California. I am over
                                                                         6   the age of 18 and not a party to the within action. My business address is 21515
                                                                             Hawthorne Blvd., Suite 800, Torrance, California 90503.
                                                                         7

                                                                         8         On October 26, 2020 I served the following document described as:
                                                                             DEFENDANT’S APPENDIX OF EXHIBITS IN SUPPORT OF ITS MOTION FOR
                                                                         9   SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, MOTION FOR PARTIAL
                                                                             SUMMARY JUDGMENT on all interested parties in this action by placing [X] a true
                                                                        10
                                                                             copy [ ] the original thereof enclosed in sealed envelopes addressed as follows:
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                                                            Counsel for Plaintiff
                                                                        12                               Michael S. Devereux, Esq.
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800




                                                                                              WEX LAW A PROFESSIONAL LAW CORPORATION
                                 TORRANCE, CALIFORNIA 90503




                                                                        13
                                                                                                     1880 Century Park East, Suite 1101
                                                                        14                                Los Angeles, CA 90067
                                                                                                            Tel: 213-986-9844
                                                                        15                                  Fax: 213-342-6190
                                                                                                          Email: mike@wex.law
                                                                        16

                                                                        17          [X] (BY MAIL, 1013a, 2015.5 C.C.P.)
                                                                        18         [X] I am readily familiar with the firm’s practice for collection and
                                                                        19   processing correspondence for mailing. Under that practice, this document will be
                                                                             deposited with the U.S. Postal Service on this date with postage thereon fully
                                                                        20   prepaid at Torrance, California in the ordinary course of business. I am aware that
                                                                        21   on motion of the party served, service is presumed invalid if postal cancellation
                                                                             date or postage meter date is more than one day after date of deposit for mailing in
                                                                        22   affidavit.
                                                                        23
                                                                                    [X] (FEDERAL) I declare that I am employed in the office of a member
                                                                        24   of the bar of this Court at whose discretion the service was made.
                                                                        25         Executed on October 26, 2020 at Torrance, California.
                                                                        26
                                                                                                                    /s/ Marianne M. Guillinta
                                                                        27                                          Marianne Guillinta
                                                                        28

                                                                             ______________________________________________________________________________
                                                                                                             APPENDIX OF EXHIBITS
